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UN|TED STATES D|STR|CT COURT
WESTERN D|STR|CT OF TENNESSEE
EASTERN DIV|S|ON

UN|TED STATES OF AMER|CA

.v. 04-10023-01-T

 

WlLL|AM DEREK MOFFETT

Mark C. Donahoel CJA
Defense Attorney
P. O. Box 98

Jackson, TN 38302

 

JUDGMENT lN A CR|MINAL CASE
(For Of'fenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 31 of the Superceding indictment on December 21,
2004. According|y, the court has adjudicated that the defendant is guilty of the following

offense(s):
Date Offense Count
Titie & section Mf_Omsg Concluded Number(s)
21 U.S.C. § 841(a)(1), 18 Possession with |ntent to Distribute 08/20/2002 31
U.S.C. § 2 Cocaine Base; Aiding and Abetting

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the |Vlandatory
Victims Restitution Act of 1996

Count(s) 2 dismissed on the motion ofthe United States.
IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney forthis district

within 30 days ofany change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 10/11/1980 Ju|y 06, 2005
Deft’s U.S. Marshal No.: 19350-076

Defendant’s Mai|ing Address:
1218 Hines Gin Road
Selmer, TN 38375

§JW)'M;XS'M

JA D. `I:ODD
C F UN|TED STATES D|STR|CT JUDGE

Thi's document entered on the dockets m llanco
with Ftule 55 and/or 32(b) FRCrP on MM_ July 6 2005

O\Q

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Case No: 1:04cr10023-01-T Defendant Name: Wi||iam Derek Moffett Page 2 of 5
lMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of

Prisons to be imprisoned for a term of 46 Months as to Count 81 of the Superceding
indictment

The Court recommends to the Bureau of Prisons: lnstitution where defendant can
receive intensive substance abuse treatment and counseling

The defendant is remanded to the custody of the United States Nlarshal.

RETURN

| have executed this judgment as follows:

 

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgmentl
UN|TED STATES MARSHAL
By:

 

Deputy U.S. |V|arsha|

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SUPERV|SED RELEASE

Upon release from imprisonment the defendant shall be on supervised release for
a term of 4 years as to Count 81 of the Superceding indictment

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court

STANDARD COND|T|ONS OF SUPERVIS|ON

1. The defendant shall not leave thejudicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful ali inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
empioyment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physicianl and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places Where controlled substances are illegally sold, used,
distributed, or administered;

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8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shail notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Crimina| Nlonetary Penalties sheet of this judgment

ADD|T|ONAL CONDIT|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall participate as directed in a program testing and treatmentfor drug and
alcohol abuse as directed by the United Stated Probation Officer until such time as the
defendant is released from the program by the probation officer.

2. The defendant shall cooperate with the United States Probation Officer in the collection of
DNA.

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythefollowing total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedu|e of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date ofjudgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedu|e of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Tota| Assessment Total Fine Totai Restitution
$100.00

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The Special Assessment shall be due immediately.
FlNE
No fine imposed
REST|TUT|ON

No Restitution was ordered.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 92 in
case 1:04-CR-10023 Was distributed by faX, mail, or direct printing on
July 8, 2005 to the parties listed.

 

 

C. Mark Donahoe

HARDEE MARTIN DAUSTER & DONAHOE
P.O. Box 98

Jackson7 TN 38302

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

